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           EXHIBIT B
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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW HAMPSHIRE

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SECURITIES AND EXCHANGE COMMISSION,

                      Plaintiff,

v.                                                          Civil Action No. 1:21-cv-00260-PB

LBRY, INC.,

                      Defendant.

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               SUPPLEMENTAL DECLARATION OF NAOMI BROCKWELL

I, Naomi Brockwell, declare as follows:

     1. I am a journalist, film and television producer and creator of “NBTV,” a channel that

produces video content available on Odysee.com (“Odysee”) and YouTube. NBTV is focused on

blockchain and cryptocurrency, digital privacy, technology, and scientific innovation. In addition

to publishing video content, NBTV produces a monthly newsletter concerning the latest news in

cryptocurrency, called CryptoBeat.

     2. I am not a crypto trader and I do not make videos about trading. I use my platform to

educate people on blockchain technology and help my viewers become more self-sovereign

individuals.

     3. In addition to my role at NBTV, I frequently appear on national television to discuss

blockchain technology and current events. I regularly host some of the largest blockchain and

economics conferences around the world, including Consensus, Bitcoin 2019, and Litecoin

Summit.
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   4. I previously submitted a sworn declaration in this case on April 28, 2022, which I

understand was submitted as part of LBRY, Inc.’s Motion for Summary Judgment (Doc. No. 61).

My previous declaration is attached hereto as Exhibit A.

   5. I use the LBRY platform every day, because as a content creator, it is a great place for me

to build an audience and feel comfortable that my channel isn’t going to be taken away from me.

Over the past 5 years, my channel has accumulated LBC tokens. I didn’t even understand that

these tokens had any kind of monetary value until a couple of years ago. I have never sold or

bought any LBC tokens, but I use them everyday to post content, to give my content more

visibility, and to access certain videos.

   6. I did not acquire LBC for investment purposes. I have never sold a single LBC. In order

to use the LBRY protocol and post content, LBC is required, and so I use it on a practical level

everyday.

       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.



Executed on this 14th day of December, 2022.



                                                                   ___________________
                                                                   Naomi Brockwell
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                   Exhibit A
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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE


-------------------------------------- X
SECURITIES AND EXCHANGE                :
COMMISSION,
                                       :
                Plaintiff,
                                       :
      -against-                                         Civil Action No. 1:21-cv-00260-PB
                                       :
LBRY, INC.,
                                                   :
                     Defendant.
-------------------------------------- X

                          DECLARATION OF NAOMI BROCKWELL

         I, Naomi Brockwell, declare as follows:

         1.       I am a journalist, film and television producer and creator of “NBTV,” a channel

that produces video content available on Odysee.com (“Odysee”) and YouTube. NBTV is focused

on blockchain and cryptocurrency, digital privacy, technology and scientific innovation. In

addition to publishing video content, NBTV produces a monthly newsletter concerning the latest

news in cryptocurrency, called CryptoBeat.

         2.       In addition to my role at NBTV, I also frequently appear on national television to

discuss blockchain technology and current events. I regularly host some of the largest blockchain

and economics conferences around the world, including Consensus, Bitcoin 2019, and Litecoin

Summit.

         3.       Since 2022, I have worked as a producer for several feature documentary films,

including: (i) Bitcoin: The End of Money as We Know It (winner of the Best International

Documentary Award at the Anthem Film Festival and the Special Jury Prize at the Amsterdam

Film Festival); (ii) Audition (winner of the Best Documentary Award at the Lion Star Film



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Festival); and (iii) The Housing Bubble (winner of the Audience Choice Award at the Anthem

Film Festival). In addition, since 2015, I have worked as a producer for 19-time-Emmy-Award-

Winning journalist, John Stossel.

         4.       From 2013 to 2015, I was a Policy Associate at the New York Bitcoin Center. I

am also the co-founder of The Soho Forum, a monthly debate series featuring topics of interest to

libertarians that aims to enhance social and professional ties within the New York City libertarian

community. In addition, I am on the Advisory Council at the Mannkal Economic Education

Foundation, which provides scholarships to Western Australia university students to attend

conferences, participate in study tours and connect with industry participants both domestically

and internationally. The mission of Mannkal Economic Education Foundation is to develop future

free market leaders and to promote free enterprise, limited government and individual initiative.

         5.       In 2016, I published a children’s book called Billy’s Bitcoin, which seeks to educate

children on Bitcoin and its various uses in a simple and understandable way.

  I.     Introduction to LBRY and Creation of LBRY Channel

         1.       Since 2014, I have been publishing video content produced by NBTV on YouTube,

where I have over 120,000 subscribers.

         2.       I was introduced to the LBRY network in 2017 when we did a show on LBRY for

John Stossel’s channel. After the show, I wanted to learn more about LBRY, so I created an

account. Given the potential to reach a wider audience and to earn extra income, on or around

August 9, 2018, I synced my YouTube channel to the LBRY network. This allowed my videos to

be played on new and budding applications running on the LBRY blockchain that relies on a

cryptocurrency—LBRY Credits (“LBC”)—to reward, tip and pay for content.

         3.       I joined the LBRY network as a means of growing the audience for my channel, as



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well as further monetizing my video content. YouTube takes a significant portion of content

creator’s fees, which has caused creators to grow increasingly frustrated with the application. The

LBRY network, on the other hand, allows creators to keep 100% of their earnings. In addition,

because it is a centralized application, YouTube is able to—and often does—“demonetize” certain

content, which means that YouTube can unilaterally remove the option for creators to monetize

certain videos that it believes, in its sole discretion, are unsuitable for advertisers. Demonetization

has become an increasing problem for YouTube content creators, particularly for creators like me,

who regularly produce content concerning blockchain technology and cryptocurrency—a subject

matter that YouTube has been censoring and/or demonetizing over the past several years.

 II.     Growth on LBRY

         4.       The NBTV channel became available on the LBRY network on or around August

10, 2018.

         5.       In the nearly four years since joining the LBRY network, I have published over 600

videos to my LBRY channel. These videos have been viewed approximately 430,000 times and

have received a total of over 22,000 reactions and 8,000 comments from viewers.

         6.       The number of users following and engaging with my channel has increased

steadily since publishing my content to the LBRY network in 2018. As of January 1, 2019, I had

approximately 160 followers and 3,000 views of my content. That number grew to approximately

2,200 followers and 24,000 views as of January 1, 2020, and approximately 32,000 followers and

98,000 views as of January 1, 2021. As of today, I have approximately 61,000 followers and

430,000 views—a growth from 2019 of approximately 3,8000% and 14,200% in followers and

views, respectively.

         7.       Since joining the LBRY network, I have earned a total of approximately 261,500



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LBC. I have earned this LBC in various ways, including through user tips, purchases by viewers,

and user rewards.

         8.       I have never cashed out any of my LBC. It is far more valuable for me to keep my

LBC attached to my channel because staking it helps my videos get seen by a larger number of

people. I am not a crypto trader and do not make videos about trading — I make videos about

useful tools based on blockchain technology that I think can help my viewers become more self-

sovereign individuals.

         9.       I have been thrilled with both the growth of viewership of my channel on the LBRY

network, as well as the monetization of my videos—particularly as compared with the

monetization of certain of my videos on YouTube. For example, as of April 22, 2020, I had

reached approximately 10,000 followers on my LBRY channel, as compared to 35,000 subscribers

on YouTube, where I had begun my channel approximately 6 years prior. On that same date, a

video posted to my channels on both the LBRY network and YouTube got more views on LBRY

than it did on YouTube. Moreover, that same video earned almost $300 worth of LBC, whereas

it had been demonetized on YouTube.

         10.      I have been so impressed with the LBRY network that I have actively sought to

recruit other content creators to sync their content. In fact, at my suggestion, in October 2019,

John Stossel synced his YouTube channel, called “Stossel TV,” to the Odysee application, where

he has since amassed approximately 35,000 followers, uploaded 510 videos, and earned over

150,000 in LBC.




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         I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

         Executed on this 28th
                          ___ day of April, 2022.




                                              Naomi Brockwell




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